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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Case No. 1:22-cr-239-1
                                              :
DOUGLAS WYATT                                 :
                                              :
                Defendant.                    :


         CONSENT MOTION TO VACATE PRELIMINARY HEARING,
    CONTINUE CASE, AND EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

       The United States of America hereby moves this Court vacate the November 29, 2022

preliminary hearing scheduled in the above-captioned matter, and set a status conference in 60

days, and further to exclude the time within which the trial must commence under the Speedy Trial

Act, 18 U.S.C. § 3161 et seq., on the basis that the ends of justice served by taking such actions

outweigh the best interest of the public and the defendant in a speedy trial pursuant to the factors

described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv).       In support of its motion, the

government states as follows:

       The government is in the process of producing voluminous discovery to defendant Wyatt.

The defendant will then need time to review the discovery production and engage in plea

discussions.

       The undersigned counsel is authorized to state that the counsel for the defendant has agreed

to vacate the preliminary hearing set for November 29, 2022 in this case and agrees that a status

conference should be set in its place in 60 days. Additionally, counsel for the defendant consents

to the tolling of the Speedy Trial Act until the next status conference date.

       WHEREFORE, the government respectfully requests that this Court grant the motion to
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vacate the scheduled status hearing, grant a 60-day continuance of the above-captioned

proceeding, and that the Court exclude the time within which the trial must commence under the

Speedy Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends of justice served by taking

such actions outweigh the best interest of the public and the defendant in a speedy trial pursuant

to the factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv).

                                                       Respectfully submitted,

                                                       MATTHEW M. GRAVES
                                                       United States Attorney
                                                       D.C. Bar Number 481052

                                                  By: /s/ Andrew J. Tessman
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